Case 1:05-cr-10024-.]DT Document 7 Filed 05/03/05 Page 1 of 2 age|D 8

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UNITED sTATEs DISTRICT coURT 05,94 `“~\_`
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UNITED STATES oF AMERICA »»/ ;,;t='/t 03 ;)?Q;Z/
app ay~CO
-vs- Case No. 1=05cr timT

KEITH ROBINSON

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled ease, and is otherwise qualified for appointment of counsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
~ All purposes including trial and appeal

DONE and ORDERED in 111 South Highland, Jackson, TN, this 2"‘1l day of May, 2005.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attomey

United States Marshal

Pretrial Servioes Oftice

Assistant F ederal Public Defender

Thls document entered on the docket shoot ln compliance
with Flule 55 andlor 32(b] FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CR-10024 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
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Ste. B-S

Jacl<Son7 TN 38301

Jimmy L. Croom

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

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Honorable J ames Todd
US DISTRICT COURT

